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                IN THE UNITED STATES DISTRICT COURT
                FOR THE MIDDLE DISTRICT OF FLORIDA
                        FORT MYERS DIVISION

                      CASE NO.: 2:23-cv-01218-JES-NPM

  DANESH NOSHIRVAN,

         Plaintiff,

  v.

  JENNIFER COUTURE, an individual,
  RALPH GARRAMONE, M.D., an individual
  RALPH GARRAMONE, M.D. P.A. d/b/a
  GARRAMONE PLASTIC SURGERY,
  CENTRAL PARK OF SOUTHWEST
  FLORIDA, LLC, WRAITH, LLC
  SULLIVAN STREET INVESTMENTS, LLC,
  HAIRPIN TURN, LLC, OMG REALTY, LLC
  R G WEIGHT MANAGEMENT, LLC
  CENTRAL PARK SOUTH, LLC
  BRANTLEE, LLC, LEGACY OF MARIE
  GARRAMONE, LLC, GARRAMONE
  MARKETING, INC., 5681 DIVISION, LLC
  THE LAW OFFICE OF PATRICK TRAINOR
  ESQ., LLC d/b/a THE LAW OFFICE OF
  PATRICK TRAINOR, PATRICK TRAINOR,
  an individual, and ANTI-DOXING LEAGUE, INC.

       Defendants.
  ____________________________________/

       DEFENDANTS JENNIFER COUTURE, RALPH GARRAMONE, M.D.,
           WRAITH, LLC, AND OMG REALTY, LLC’S, NOTICE OF
       WITHDRAWAL OF RESPONSE IN OPPOSITION TO PLAINTIFF’S
              MOTION FOR RULE 16 SANCTIONS [D.E. 277]
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        Defendants Jennifer Couture, Ralph Garramone, M.D., Wraith, LLC and

  OMG Realty, LLC, by and through their undersigned counsel, hereby withdraw their

  Response in Opposition to Plaintiff’s Motion for Rule 16 Sanctions [D.E. 277] filed

  on March 27, 2025. Defendants filed an Amended Supplemental Response in

  Opposition to Plaintiff’s Motion for Sanctions [D.E. 348] on May 5, 2025.


  Date: May 5, 2025                      Respectfully submitted,

                                   By:   /s/ Aaron Alfano_____________________
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                                         Attorneys for Defendants Jennifer Couture,
                                         Ralph Garramone, MD, OMG Realty, LLC,
                                         and Wraith, LLC


                           CERTIFICATE OF SERVICE

        I hereby certify that a true and accurate copy of the foregoing Notice of
  Substitution of Counsel was served this May 5, 2025, on all counsel or parties of
  record via the Court’s Electronic Filing System, Electronic Mail, or via regular mail:



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        Attorney for all Defendants
        Except Garramone Plastic Surgery,
        Jennifer Couture, Dr. Ralph Garramone,
        OMG Realty, LLC and Wraith, LLC




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                                     /s/ Aaron Alfano______________________
                                     Aaron Alfano (Fla Bar No.: 83909)




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